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                                UNITED STATES DISTRICT COURT

                                SOUTHERN DISTRICT OF FLORIDA

                            Case No.: 21-cv-20862-BLOOM/Otazo-Reyes

  MILLENNIUM FUNDING, INC. et al,

          Plaintiffs,

          vs.

  1701 MANAGEMENT LLC et al,

          Defendants.

  _______________________________________________

                   MOTION FOR ISSUANCE OF WRIT OF GARNISHMENT

          Plaintiffs/Judgment    Creditors    MILLENNIUM    FUNDING,   INC.,    VOLTAGE

  HOLDINGS, LLC, AMBI DISTRIBUTION CORP., AFTER PRODUCTIONS, LLC, AFTER II

  MOVIE, LLC, MORGAN CREEK PRODUCTIONS, INC., BEDEVILED LLC, MILLENNIUM

  MEDIA, INC., COLOSSAL MOVIE PRODUCTIONS, LLC, YAR PRODUCTIONS, INC.,

  FSMQ FILM, LLC, FW PRODUCTIONS, LLC, MILLENNIUM IP, INC., I AM WRATH

  PRODUCTION, INC., KILLING LINK DISTRIBUTION, LLC, BADHOUSE STUDIOS, LLC,

  LF2 PRODUCTIONS, INC., LHF PRODUCTIONS, INC., VENICE PI, LLC, RAMBO V

  PRODUCTIONS, INC., RUPTURE CAL, INC., MON, LLC, SF FILM, LLC, SPEED KILLS

  PRODUCTIONS,          INC.,    NIKOLA      PRODUCTIONS,   INC.,   WONDER     ONE,   LLC,

  BODYGUARD PRODUCTIONS, INC., OUTPOST PRODUCTIONS, INC., GLACIER FILMS

  1, LLC, DEFINITION DELAWARE LLC, HANNIBAL CLASSICS INC., JUSTICE

  EVERYWHERE PRODUCTIONS LLC, STATE OF THE UNION DISTRIBUTION AND

  COLLECTIONS, LLC, PARADOX STUDIOS, LLC, DALLAS BUYERS CLUB, LLC,

  HITMAN TWO PRODUCTIONS, INC., SCREEN MEDIA VENTURES, LLC and 42



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  VENTURES, LLC (all collectively “Plaintiffs”), by and through undersigned counsel, hereby makes

  application to the Clerk of the United States District Court to issue a Writ of Garnishment in the

  above-referenced case to:

       (1) BUHOSABIO LLC;

       (2) Terry Lacy;

       (3) Antilles LLC;

       (4) EVKLeddihn LLC;

       (5) Dusko Popov Trust;

       (6) Solzhenitzyn Trust; and

       (7) WasteResources LLC.

          attached hereto, to satisfy a judgment against the Defendants/Judgment Debtors 1701

  MANAGEMENT LLC d/b/a LIQUIDVPN, AUH2O LLC AND CHARLES MUSZYNSKI a/k/a

  FREDERICK DOUGLAS (collectively, “LiquidVPN Defendants”) for $15,172,403.00,

  $324,796.46 accrued interest computed at 1.21% per 28 U.S.C. §1963 from the date the date the

  action was filed on March 3, 2021, $12,070.00 accrued costs, plus costs and attorneys’ fees per

  Plaintiffs forthcoming motion. The total amount of payments made by judgment debtor(s) on this

  judgment is $0. The balance of the judgment remains unsatisfied. This application is being made

  pursuant to this Court’s March 28, 2022 Order [Doc. #213] (“Final Default Judgment”), Fed. R.

  Civ. P. 69(a) and Chapters 77.01, 77.03, 77.04 of Florida Statutes.

  I.      APPLICABLE LAW

          Fed. R. Civ. P. 64(a) states that “The remedies available under this rule

  include…attachment…garnishment…and other corresponding or equivalent remedies.”




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         Fed. R. Civ. P. 69(a)(1) states that “…The procedure on execution [of a writ of

  execution]…must accord with the procedure of the state where the court is located, but a federal

  statute governs to the extent it applies”. Chapter 77 of the Florida Statutes provides the procedures

  for writs of garnishments.

         Florida’s long-arm statute provides that a court may exercise jurisdiction over a party

  engages in the acts of (1) engaging in business in this state or having an office in this state, (2)

  committing a tortious act within this state, (3) owning property in this state.” See Fla. Stat. §

  48.193(1)(a).

  II.    ARGUMENT

  A.     Personal Jurisdiction over proposed Garnishees is appropriate.

         Although Buhosabio LLC (“Buhosabio”) is a Puerto Rico LLC operating the dba

  WasteWiser whose CEO Terry Lacy resides in Florida. Accordingly, Buhosabio is “engaging in,

  or carrying on a business or business venture in this state or having an office or agency in this

  state” per Fla. Stat. § 48.193(1)(a)(1). Further Busabio was founded by Defendant/Judgment

  Debtor Charles Muszynski (“Muszynski”) and is controlled by Muszynski. See Exhibit P-3 [Doc.

  #311-3] (email from Muszynski where he explain he put Buhosabio’s account in Terry Lacy’s

  name and SSN to hide the assets from Plaintiffs’ counsel: “…holds the PR LLC called Buhosabio

  that is Wastewiser.com…Buhosabio's account is in Terry Lacy's name and SSN…MAJOR caution

  is the ex-wife's continued use of parasitic collection attorneys - the latest is Kerry Culpepper…”);

  Exhibit P-8 [Doc. #311-8] (email from Muszynski where he states “it's beyond tax time and now

  that cash is in, I can engage accounting and reporting services for the LLC in Puerto Rico that

  handles the startup for WasteWiser.com”); Exhibit P-4 [Doc. #311-4](payment records from




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  Muszynski for services engaged by WasteWiser). This Court has already determined that personal

  jurisdiction over Muszynski is appropriate.

         Antilles LLC is an entity controlled by Muszynski that owns his yacht. See Exhibit P-3.

         EVKLeddihn LLC is an entity controlled by Muszynski that owns his home. See Id.

         Dusko Popov and Solzhenitzyn are trusts controlled by Muszynski for which he is the

  beneficiary. See Id.

         WasteResources LLC is a New Mexico LLC wholly owned by Muszynski.

         All of these entities are mere alter egos of Muszynski which he explicitly admits in his

  correspondence that he uses the instrumentalities for the illegal, fraudulent and just purpose of

  defrauding his creditors. See Id. The Court has already concluded that personal jurisdiction over

  Muszynski is appropriate in the Final Default Judgment. Accordingly, personal jurisdiction is also

  appropriate over the entities he controls and that are merely his alter egos.

         Terry Lacy resides in Florida and is the CEO of Buhosabio LLC dba WasteWiser. See

  https://www.wastewiser.com/about-us [last accessed on 12/9/2022] (identifies Terry Lacy as CEO

  of WasteWiser). Accordingly, personal jurisdiction is appropriate over Terry Lacy per Fla. Stat.

  § 48.193(1)(a)(3).

         By applying for these Writs of Garnishments, Judgment Creditors emphasize that they are

  not conceding that these entities are legally distinct from Judgment Debtors. To be clear, Judgment

  Creditors reserve the right to seek to amend the judgment to also name Muszynski’s alter egos.

  B.     Plaintiffs have complied with the procedures of Chapter 77 of the Florida Statutes.

         In the Final Default Judgment, the Plaintiffs were awarded a money judgment of

  $15,172,403.00 against the LiquidVPN Defendants which is still outstanding. Accordingly,

  Plaintiffs have a “…right to a writ of garnishment…” as provided by chapter 77.01.


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         Plaintiffs’ motion states the amount of the judgment ($15,172,403.00) as required by

  chapter 77.03.

         Plaintiffs have attached proposed Writs in the form required by chapter 77.04

  III.   CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that this Court grant this motion

  and issue the proposed writs of garnishment.

  DATED: Dec. 9, 2022                            Respectfully submitted,



                                                  /s/ Joel B. Rothman
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